













Opinion issued February 10, 2005







In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-04-00505-CV
____________

IN RE CHRISTOPHER MICHAEL BUTLER , Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On May 17, 2004, we struck relator’s petition for writ of mandamus for
noncompliance with the Texas Rules of Appellate Procedure and provided that the
deadline for filing a conforming document was June 21, 2004.  June 21, 2004 has
passed and relator has not filed a conforming document.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Accordingly, relator’s petition for writ of mandamus is dismissed for want of
prosecution.
&nbsp;
PER CURIAM
Panel consists of Justices Nuchia, Jennings, and Keyes.


